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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

MARIA LEE, Derivatively on Behalf of    )
FORTERRA, INC.,                         )
                                        )
                  Plaintiff,            )
                                        )
      v.                                )   Case No. 1:19-cv-00089-CFC
                                        )
JEFFREY K. BRADLEY, W. MATTHEW )
BROWN, LORI M. BROWNE, WILLIAM )
KERFIN, KYLE S. VOLLUZ, KEVIN           )
BARNER, ROBERT CORCORAN,                )
SAMUEL D. LOUGHLIN, CLINT               )
MCDONNOUGH, JOHN McPHERSON, )
CHRIS MEYER, JACQUES SARRAZIN, )
CHADWICK S. SUSS and GRANT              )
WILBECK,                                )
                                        )
                  Defendants,
                                        )
  -and-                                 )
                                        )
FORTERRA, INC., a Delaware corporation, )
                                        )
                  Nominal Defendant. )
                                        )
                                        )
                                        )
                                        )
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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

NANCY G. MALONEY, Derivatively on       )
Behalf of FORTERRA, INC.,               )
                                        )
                  Plaintiff,            )
                                        )
      v.                                )
                                        )             Case No. 1:19-cv-01783-CFC
JEFFREY K. BRADLEY, W. MATTHEW )
BROWN, LORI M. BROWNE, WILLIAM )
KERFIN, KYLE S. VOLLUZ, KEVIN           )
BARNER, ROBERT CORCORAN,                )
SAMUEL D. LOUGHLIN, CLINT               )
McDONNOUGH, JOHN McPHERSON, )
CHRIS MEYER, JACQUES SARRAZIN, )
CHADWICK S. SUSS and GRANT              )
WILBECK,                                )
                                        )
                  Defendants,
                                        )
  -and-                                 )
                                        )
FORTERRA, INC., a Delaware corporation, )
                                        )
                  Nominal Defendant. )
                                        )
                                        )
                                        )
                                        )
                                        )


                      STIPULATION AND [PROPOSED] ORDER
                   CONSOLIDATING ACTIONS AND ESTABLISHING
                A BRIEFING SCHEDULE FOR CONSOLIDATED ACTION

       Plaintiffs Maria Lee (“Lee”) and Nancy G. Maloney (“Maloney”), derivatively on behalf

of Forterra, Inc. (“Plaintiffs”), nominal party Forterra, Inc. (“Forterra”) and defendants Jeffrey K.

Bradley, W. Matthew Brown, Lori M. Browne, William Kerfin, Kyle S. Volluz, Kevin Barner,

Robert Corcoran, Samuel D. Loughlin, Clint McDonnough, John McPherson, Chris Meyer,




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Jacques Sarrazin, Chadwick S. Suss, and Grant Wilbeck (“Defendants”), by and through their

undersigned counsel, hereby stipulate as follows:

       WHEREAS, on July 31, 2018, Plaintiff Maloney filed a stockholder derivative complaint

in the Northern District of Texas against Defendants alleging breaches of fiduciary duties,

corporate waste and unjust enrichment (the “Maloney Texas Action”).

       WHEREAS, in the Maloney Texas Action, Maloney sought, derivatively on behalf of

Forterra, unspecified damages, an order directing the return of certain payments made to

Defendants and imposing a constructive trust thereon, reasonable costs and attorneys’ fees and

punitive damages;

       WHEREAS, on January 15, 2019, Plaintiff Lee filed a stockholder derivative complaint

in this Court against Defendants alleging violations of Section 14(a) of the Securities and

Exchange Act of 1934, as amended, and related rules, breaches of fiduciary duties, corporate

waste, constructive fraud and unjust enrichment (the “Lee Action”).

       WHEREAS, in the Lee Action, Lee seeks, derivatively on behalf of Forterra, unspecified

damages, an order directing the return of certain payments made to Defendants, injunctive relief

and reasonable costs and attorneys’ fees;

       WHEREAS, on April 18, 2019, this Court entered a stipulated order staying the Lee Action

until the United States District Court for the Northern District of Texas resolves pending motions

to dismiss a related federal securities class action (the “Securities Action”);

       WHEREAS, on July 30, 2019, the Northern District of Texas dismissed the Maloney

Texas Action without prejudice on the grounds of forum non conveniens;

       WHEREAS, on September 23, 2019, Plaintiff Maloney refiled in this Court her

stockholder derivative complaint against Defendants alleging violations of Sections 14(a) and




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20(a) of the Securities and Exchange Act of 1934, as amended, and related rules, breaches of

fiduciary duties, corporate waste and unjust enrichment (the “Maloney Delaware Action”).

       WHEREAS, in the Maloney Delaware Action, Maloney seeks, derivatively on behalf of

Forterra, unspecified damages, an order directing the return of certain payments made to

Defendants and imposing a constructive trust thereon, reasonable costs and attorneys’ fees and

punitive damages;

       WHEREAS, Forterra has represented in a recent filing with the United States Securities

and Exchange Commission that “[o]n November 4, 2019, the parties to the Securities Action

entered into a settlement agreement that is intended to fully and finally resolve all claims in the

Securities Action,” and that “[t]he parties intend to seek court approval for the settlement” in the

Securities Action;

       WHEREAS, meanwhile, all Defendants have either been served with process or waived

service in the Maloney Delaware Action and the deadline for Defendants to answer, move, or

otherwise respond to the complaint in the Maloney Delaware Action is December 16, 2019; and

       WHEREAS, the parties have met and conferred and agree that, because consolidation of

the Lee and Maloney Delaware Actions would promote judicial economy and preserve both public

and private resources, the Court should consolidate the Lee Action and Maloney Delaware Action

pursuant to Fed. R. Civ. P. 42(a).

       THEREFORE, IT IS HEREBY STIPULATED AND AGREED, by and between the

parties hereto, through their undersigned counsel, subject to the approval of the Court, that:

       1.      The stay in the Lee Action is hereby lifted;

       2.      Pursuant to Fed. R. Civ. P. 42(a), the Lee Action and Maloney Delaware Action are

hereby consolidated (the “Consolidated Action”) for all purposes. The Consolidated Action shall




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be recaptioned as “In re Forterra, Inc. Stockholder Derivative Litigation” and the Consolidated

Action will proceed under Case No. 1:19-cv-00089-CFC, with all filings made under the following

caption:

                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

IN RE FORTERRA, INC. STOCKHOLDER
DERIVATIVE LITIGATION                                Case No. 1:19-cv-00089-CFC


This Document Relates To:

          ALL ACTIONS.

          3.   Any actions filed in or transferred to this Court which arise out of or relate to the

facts alleged in the Consolidated Action shall be consolidated with the Consolidated Action. This

Order shall apply to each case which is subsequently consolidated with the Consolidated Action.

          4.   Defendants shall have no obligation to respond to the individual complaints filed

in the Lee Action, Maloney Delaware Action, or in any other action consolidated with the

Consolidated Action until Lead Plaintiff designates an operative complaint for the Consolidated

Action.

          5.   Plaintiffs Maria Lee and Nancy G. Maloney shall serve as Co-Lead Plaintiffs.

          6.   Bragar Eagel & Squire, P.C. and Robbins Geller Rudman & Dowd LLP shall serve

as Lead Counsel for plaintiffs in the Consolidated Action. The law firms of Rigrodsky & Long,

P.A. and Andrews & Springer LLP shall be appointed Delaware Counsel for Plaintiffs in the

Consolidated Action. Lead Counsel and/or Delaware Counsel shall have authority to speak for

plaintiffs in matters regarding pre-trial and trial procedure and settlement negotiations and shall

make all work assignments in such manner as to facilitate the orderly and efficient prosecution of

the Consolidated Action and to avoid duplicative or unproductive efforts. No plaintiff shall file or


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initiate any motion, request for discovery, or other pre-trial or trial proceedings except through

Lead Counsel and/or Delaware Counsel.

       7.      Defendants may rely upon all agreements made with Lead Counsel and/or

Delaware Counsel, and such agreements shall be binding on all plaintiffs.

       8.      Service upon any plaintiff of all pleadings in the Consolidated Action, except those

specifically addressed to a plaintiff other than Lead Plaintiff, shall be completed upon service of

Lead Counsel and Delaware Counsel.

       9.      The parties shall take sixty days from the entry of this stipulation to attempt to

resolve the disputed matters. If the parties are unable to reach a resolution within sixty days of

entry of this stipulation as the Court’s order, the Lead Plaintiffs will then have forty-five days to

either designate an operative complaint or to file a consolidated complaint in the Consolidated

Action. Defendants will then have forty-five days to answer, move, or otherwise respond to the

consolidated complaint; Lead Plaintiffs will file opposition(s) to any motion(s) directed to such

complaint within forty-five days after the motion’s filing; and Defendants will file reply papers in

connection with any such motion(s) within thirty days after the filing of Lead Plaintiffs’

opposition.




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Dated: December 10, 2019             RIGRODSKY & LONG, P.A.

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    SO ORDERED this ___ day of _______________, 2019.



                             _____________________________________
                             THE HONORABLE COLM F. CONNOLLY
                             UNITED STATES DISTRICT JUDGE




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